0052-1D-EPIE1D-00023004-37803
                 Case 15-80849-JJG-13                Doc 83     Filed 09/09/21       EOD 09/09/21 15:44:05               Pg 1 of 3
                                UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF INDIANA
                                                        TERRE HAUTE DIVISION

In re: FERNELL KEITH MCDONALD                                                                           Case No.: 15-80849-JJG-13

                 Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Donald L. Decker, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 10/21/2015.
2) The plan was confirmed on 02/19/2016.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 04/28/2016, 01/06/2020, 07/18/2016.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 04/06/2021.
6) Number of months from filing or conversion to last payment: 66.
7) Number of months case was pending: 70.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 27,257.00.
10) Amount of unsecured claims discharged without full payment: 17,175.83.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:             $71,142.12
        Less amount refunded to debtor:                         $152.88
 NET RECEIPTS:                                                                  $70,989.24

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $4,000.00
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                     $6,086.85
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $10,086.85

 Attorney fees paid and disclosed by debtor:                      $.00




 Scheduled Creditors:
Creditor                                                        Claim           Claim            Claim          Principal            Interest
Name                                         Class              Scheduled       Asserted         Allowed        Paid                 Paid

AMERICAN EXPRESS CENTURION BANKUnsecured                          1,875.00       1,875.94        1,875.94           894.92                 .00
BANK OF AMERICA                              Unsecured            5,667.00       5,809.01        5,809.01        2,771.22                  .00
BLOOMBANK                                    Secured             14,000.00      13,852.93       13,852.93               .00                .00
CAPITAL ONE BANK                             Unsecured            4,393.00             NA              NA               .00                .00
CAPITAL ONE BANK USA, NA                     Unsecured                   NA      4,689.28        4,689.28        2,237.04                  .00
CAPITAL ONE MENARDS                          Unsecured            2,322.00             NA              NA               .00                .00
CERASTES, LLC                                Unsecured            3,172.00       3,207.60        3,207.60        1,530.20                  .00
CRANE CREDIT UNION                           Secured                     NA     14,979.19       14,979.19               .00                .00
CRANE FEDERAL CREDIT UNION                   Secured             15,320.00             NA              NA               .00                .00
DALE BARKER                                  Unsecured                   NA            NA              NA               .00                .00
FRED AND CATHY MARKLE                        Unsecured                   NA            NA              NA               .00                .00
GREGG ROUDEBUSH STEVE                        Unsecured                   NA            NA              NA               .00                .00
INDIANA DEPARTMENT OF REVENUE                Priority                    NA      2,705.19        1,011.79        1,011.79                  .00
INDIANA DEPARTMENT OF REVENUE                Secured              2,825.00       2,705.19        1,522.50        1,522.50              131.55
INDIANA DEPARTMENT OF REVENUE                Unsecured                   NA      2,705.19          170.90            81.52                 .00
Page 1 of 3                                                                                                      UST Form 101-13-FR-S (9/1/2009)
0052-1D-EPIE1D-00023004-37803
                 Case 15-80849-JJG-13       Doc 83   Filed 09/09/21   EOD 09/09/21 15:44:05        Pg 2 of 3
                                UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF INDIANA
                                              TERRE HAUTE DIVISION

In re: FERNELL KEITH MCDONALD                                                       Case No.: 15-80849-JJG-13

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                             Claim        Claim        Claim       Principal           Interest
Name                                Class            Scheduled    Asserted     Allowed     Paid                Paid

INDIANA DEPT OF REVENUE             Priority             765.00         NA          NA            .00                .00
INTERNAL REVENUE SERVICE            Priority             231.00         .00         .00           .00                .00
INTERNAL REVENUE SERVICE            Unsecured               NA          .00         .00           .00                .00
JOSHUA GOODMAN                      Unsecured               NA          NA          NA            .00                .00
MAIN SOURCE BANK                    Secured                 NA     8,069.91     880.00        880.00                 .00
MAIN SOURCE BANK                    Secured                 NA     8,069.91    7,053.94     7,053.94             896.20
MAIN SOURCE BANK                    Secured           44,980.00         NA          NA            .00                .00
MAIN SOURCE BANK                    Secured           65,542.00         NA          NA            .00                .00
MAIN SOURCE BANK                    Secured            7,994.00         NA          NA            .00                .00
MAINSOURCE BANK                     Secured                 NA    44,515.99   44,515.99           .00                .00
MAINSOURCE BANK                     Secured                 NA    64,709.66   64,709.66           .00                .00
REGIONS BANK                        Secured           11,246.00   11,271.86   11,271.86           .00                .00
REGIONS BANK D/B/A REGIONS MORTGAGE
                                Secured               46,494.00   47,730.13   39,439.74    39,439.74                 .00
REGIONS BANK D/B/A REGIONS MORTGAGE
                                Secured                     NA     2,451.77    2,451.77     2,451.77                 .00
SULLIVAN CO COMM HOSPITAL           Unsecured            428.00         NA          NA            .00                .00
THOMAS R PAFFORD                    Unsecured          1,795.00         NA          NA            .00                .00




Page 2 of 3                                                                                UST Form 101-13-FR-S (9/1/2009)
0052-1D-EPIE1D-00023004-37803
                 Case 15-80849-JJG-13              Doc 83     Filed 09/09/21         EOD 09/09/21 15:44:05               Pg 3 of 3
                                  UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF INDIANA
                                                     TERRE HAUTE DIVISION

In re: FERNELL KEITH MCDONALD                                                                           Case No.: 15-80849-JJG-13

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal            Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                 Paid

TRACY KEEN                                 Unsecured                  NA               NA              NA               .00                .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal            Interest
                                                                                                 Allowed        Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                          39,439.74       39,439.74                 .00
     Mortgage Arrearage:                                                                         2,451.77        2,451.77                 .00
     Debt Secured by Vehicle:                                                                    7,933.94        7,933.94              896.20
     All Other Secured:                                                                        150,852.13        1,522.50              131.55
 TOTAL SECURED:                                                                                200,677.58       51,347.95            1,027.75

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                      .00             .00                  .00
     Domestic Support Ongoing:                                                                        .00             .00                  .00
     All Other Priority:                                                                         1,011.79        1,011.79                  .00
 TOTAL PRIORITY:                                                                                 1,011.79        1,011.79                  .00

 GENERAL UNSECURED PAYMENTS:                                                                    15,752.73        7,514.90                  .00

 Disbursements:
        Expenses of Administration:                                                            $10,086.85
        Disbursements to Creditors:                                                            $60,902.39
 TOTAL DISBURSEMENTS:                                                                                                             $70,989.24

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     08/31/2021                                    By:   /s/Donald L. Decker
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 3 of 3                                                                                                      UST Form 101-13-FR-S (9/1/2009)
